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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     RINESON CURTIS ADAMS,                               Case No. 21-cv-08051-JD
                                                         Plaintiff,
                                   8
                                                                                             ORDER OF TRANSFER
                                                    v.
                                   9
                                                                                             Re: Dkt. No. 2
                                  10     CDCR OFFICERS, et al.,
                                                         Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          This is a civil rights case brought pro se by a state prisoner. Plaintiff presents allegations

                                  14   regarding the conditions of confinement at California Medical Facility, where he is incarcerated.

                                  15   This prison is located within the venue of the United States District Court for the Eastern District

                                  16   of California. Because plaintiff is incarcerated in the Eastern District and the incident occurred in

                                  17   the Eastern District, venue properly lies in that district and not in this one. See 28 U.S.C. §

                                  18   1391(b).

                                  19          This case is TRANSFERRED to the United States District Court for the Eastern District

                                  20   of California. See 28 U.S.C. § 1406(a). In view of the transfer, the Court will not rule upon

                                  21   plaintiff’s motion to proceed in forma pauperis (Dkt. No. 2), which is VACATED without

                                  22   prejudice.

                                  23          IT IS SO ORDERED.

                                  24   Dated: November 10, 2021

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                                                                                                     JAMES DONATO
                                  27                                                                 United States District Judge
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